UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

No. 1:21-CV-744

KATHY BYRD HARRINGTON, as
Administrator of the Estate of WESLEY
RANDOLPH HUNTER, deceased,

Plaintiff,

v.
ANSWER OF DEFENDANTS SOUTHERN
HEALTH PARTNERS, INC., KELLY
CARLTON, AND KAREN RUSSELL TO
PLAINTIFF’S COMPLAINT

SOUTHERN HEALTH PARTNERS, INC.
and KELLY CARLTON and KAREN
RUSSELL, JASON AUTEN, in his individual
capacity, A.M. PRICE, in his individual
capacity, MICHAEL ROGERS, in his
individual capacity, CABARRUS COUNTY
SHERIFF’S DEPARTMENT, and
CABARRUS COUNTY,

Defendants.

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NOW COME Defendants, Southern Health Partners, Inc. (hereinafter “SHP”), Kelly
Carlton, and Karen Russell, by and through the undersigned counsel, and for their Answer to
Plaintiff's Complaint, and state as follows:

FIRST DEFENSE

In response to Plaintiff's enumerated paragraphs, Defendants state as follows:

1. Defendants do not have sufficient information upon which to base a belief as to
the truthfulness of the allegations contained in Paragraph No. 1 of Plaintiff's Complaint, and the
same are, therefore, denied.

2. Admitted.

3, Admitted.

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4. Denied.

5. The allegations contained in Paragraph No.5 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

6. The allegations contained in Paragraph No. 6 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

7. The allegations contained in Paragraph No.7 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

8. The allegations contained in Paragraph No. 8 of Plaintiffs Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

9. The allegations contained in Paragraph No.9 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

10. The allegations contained in Paragraph No. 10 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

11. Denied.

12. It is admitted that SHP entered into a contract with Cabarrus County to provide
medical care at the Cabarrus County Detention Center. Said contract speaks for itself and is the

best evidence of what is contained therein. Except as admitted, denied.

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13. It is admitted that SHP entered into a contract with Cabarrus County to provide
medical care at the Cabarrus County Detention Center. Said contract speaks for itself and is the
best evidence of what is contained therein. Except as admitted, denied.

14. Denied.

15. Denied, as companies cannot be accredited by NCCHC.

16. Denied.
17. Denied.
18. Denied.

19. The allegations contained in Paragraph No. 19 of Plaintiff's Complaint seek a
legal conclusion to which no response is required. Except as admitted, denied.

20. ‘It is admitted that Wesley Hunter was an inmate at the Cabarrus County Detention
Center, and at times was provided medical care by employees of SHP. Except as admitted,
denied due to lack of sufficient information to form a belief as to the truthfulness of the same.

21. In response to the allegations contained in Paragraph No. 21 of Plaintiff's
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

22. In response to the allegations contained in Paragraph No. 22 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to

interpret or set forth what is shown in such records, Defendants state that such records, subject to

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interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

23. In response to the allegations contained in Paragraph No. 23 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

24. In response to the allegations contained in Paragraph No. 24 of Plaintiff's
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

25. In response to the allegations contained in Paragraph No. 25 of Plaintiff's
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

26. In response to the allegations contained in Paragraph No. 26 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff’s decedent’s condition and

treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to

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interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

27. In response to the allegations contained in Paragraph No. 27 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

28. In response to the allegations contained in Paragraph No. 28 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

29. — Denied.

30. In response to the allegations contained in Paragraph No. 30 of Plaintiff's
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak

for themselves as to what they show. Except as admitted herein, denied.

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31. In response to the allegations contained in Paragraph No. 31 of Plaintiff's
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

32. In response to the allegations contained in Paragraph No. 32 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to
interpret or set forth what is shown in such records, Defendants state that such records, subject to
interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

33. The allegations contained in Paragraph No. 33 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

34. The allegations contained in Paragraph No. 34 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

35. In response to the allegations contained in Paragraph No. 35 of Plaintiffs
Complaint, Defendants state that the information concerning Plaintiff's decedent’s condition and
treatment is reflected in his medical records and charts. To the extent this Paragraph seeks to

interpret or set forth what is shown in such records, Defendants state that such records, subject to

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interpretation and explanation by the person(s) making the referenced notations or entries, speak
for themselves as to what they show. Except as admitted herein, denied.

36. Defendants do not have sufficient information upon which to base a belief as to
the truthfulness of the allegations contained in Paragraph No. 36 of Plaintiff's Complaint, and the
same are, therefore, denied.

37. Defendants reincorporate their responses to the preceding paragraphs as if fully
set forth therein.

38. The allegations contained in Paragraph No. 38 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

39. The allegations contained in Paragraph No. 39 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

40. The allegations contained in Paragraph No. 40 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

41. The allegations contained in Paragraph No. 41 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

42. The allegations contained in Paragraph No. 42 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted

herein, denied.

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43. The allegations contained in Paragraph No. 43 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

44, The allegations contained in Paragraph No. 44 of Plaintiff's Complaint do not
apply to these answering Defendants, and therefore, no response is required. Except as admitted
herein, denied.

45. Defendants reincorporate their responses to the preceding paragraphs as if fully
set forth therein.

46. The allegations contained in Paragraph No. 46 of Plaintiff's Complaint seek a

legal conclusion to which no response is required. Except as admitted, denied.

47, Denied.
48. Denied.
49. Denied.
50. Denied.
51. Denied.

52. Defendants reincorporate their responses to the preceding paragraphs as if fully

set forth therein.
53. Denied.
54. Denied.
55. Denied.
56. Denied.
57. Denied.
58. Denied.

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59. Denied.

60. Denied.

él. Defendants do not have sufficient information upon which to base a belief as to
the truthfulness of the allegations contained in Paragraph No. 61 of Plaintiff’s Complaint, and the
same are, therefore, denied.

62. The allegations contained in Paragraph No. 62 of Plaintiff's Complaint seek a

legal conclusion to which no response is required. Except as admitted, denied.

63. Denied.
64. —_ Denied.
65. Denied.
66. Denied.

67. Defendants reincorporate their responses to the preceding paragraphs as if fully

set forth therein.
68. Denied.
69. _—_ Denied.
70. — Denied.

As used herein, a denial to a numerical paragraph in Plaintiff's Complaint constitutes a
denial to any and all subparagraphs contained therein.
Defendants hereby deny any and all allegations contained in Plaintiff's Complaint not
specifically admitted herein.
SECOND DEFENSE
Plaintiffs Complaint fails to state a claim upon which relief can be granted, and the same

should, therefore, be dismissed pursuant to the Federal Rules of Civil Procedure.

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THIRD DEFENSE
Defendants deny that any act or conduct on their behalf or on behalf of any of its entities
or employees was a proximate cause of injury or harm to Plaintiff's decedent.
FOURTH DEFENSE
These Defendants state that the care and treatment provided to Plaintiff's decedent was,
in all respects, appropriate and in conformance with the applicable standards of care. Defendants
plead their conformity with the applicable standards of care as a complete bar to Plaintiffs cause
of action herein.
FIFTH DEFENSE
Defendants plead Decedent’s contributory negligence as a bar to this cause of action.
SIXTH DEFENSE
Defendants hereby plead any and all applicable statutes of limitations and statutes of
repose as a bar to Plaintiff's cause of action herein.
SEVENTH DEFENSE
Defendants deny that they deprived Plaintiff's decedent of any right under the United
States Constitution or any other federal or state law.

EIGHTH DEFENSE
Qualified Immunity

These Defendants did not violate clearly established constitutional rights of which a
reasonable person would have known; therefore, these Defendants acted at all times in the good
faith belief that their actions were lawful and justified, and not in violation of any clearly
established constitutional right of Plaintiff's decedent. The alleged actions of these Defendants

of which Plaintiff complains were done in accordance with the laws of the United States and the

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laws of the State of North Carolina. Thus these Defendants are entitled qualified immunity from
Plaintiff's suit.
NINTH DEFENSE

These Defendants plead the doctrines of governmental and sovereign immunity as a bar

to Plaintiff's claims.
TENTH DEFENSE

Plaintiff has alleged wrongful conduct by others as causing injury or death to Plaintiff's
decedent. These Defendants have denied any wrongdoing on their part. Additionally, these
Defendants assert that if it is found that Plaintiffs decedent was damaged by the wrongful
conduct of others, these Defendants assert that the claims against them are barred by the
contributing, concurring, intervening, superseding, or insulating negligence, fault, or breach of
persons or entities other than these Defendants. Any fault, negligence, or wrongdoing by these
Defendants, the existence of which is again expressly denied, was passive and secondary in light
of the primary and active fault of others. These Defendants are entitled to contribution and/or
indemnity from any other persons or entities who are found to have damaged Plaintiff's decedent
by negligent, wrongful, or improper conduct.

DEMAND FOR JURY TRIAL

Defendants hereby demand a trial by jury on all issues properly triable thereby.

WHEREFORE, Defendants, Southern Health Partners, Inc., Kelly Carlton, and Karen
Russell, pray unto the Court as follows:

1. That Plaintiff’?s Complaint be dismissed, taken for naught, and that Plaintiff have

and recover nothing thereon;

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2, That the costs of this action, including costs of Court and reasonable attorneys’
fees, be taxed against the Plaintiff;

3. That these Defendants have a trial by jury on all issues properly triable thereby;
and

4, For any and all further relief as this Court may deem just and proper.

This the 27" day of October, 2021.

Respectfully submitted,

/s/ W. Gregory Merritt

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E-mail: wem@harriscreech.com

/s/ Christina J. Banfield

N.C. State Bar Number: 52015

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Attorneys for Defendants Southern Health Partners, Inc.,
Kelly Carlton, and Karen Russell

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CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing ANSWER OF DEFENDANTS

SOUTHERN HEALTH PARTNERS, INC., KELLY CARLTON, AND KAREN RUSSELL

TO PLAINTIFF’S COMPLAINT with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the following:

dib/8582

Mr. Fred W. DeVore, III
Email: fdevore/ddevact.com
Mr. F, William DeVore, IV
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This the 27" day of October, 2021.

Respectfully submitted,

/s/ W. Gregory Merritt

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